 Probation Form N o. 35
 (1/92)
                                                     Report and Order Terminating Probation /
                                                                           Supervised Release
                                                             Prior to Original Expiration Date

                           UNITED STATES DISTRICT COURT
                                         for the
                            Western District of North Carolina


UNITED STATES OF AMERICA

                    vs.                                                Crim. No. 1:99CR112-02

       Harry James McDaniels


        On March 1, 2001 the above named was placed on Supervised Release for a period of 3
years. He has complied with the rules and regulations of Supervised Release and is no longer in
need of supervision. It is accordingly recommended that Harry James McDaniels be discharged
from supervision.


                                            Respectfully submitted,

                                     by       s/ Scott D. Aldridge
                                            Scott D. Aldridge
                                            Senior U.S. Probation Officer
                                            B-3 U.S. Courthouse Building
                                            100 Otis Street
                                            Asheville, NC 28801
                                            (828) 771-7346

Approved By:

      s/ B. Beattie Logan III
B. Beattie Logan III
Supervising U.S. Probation Officer




          Case 1:99-cr-00112-LHT      Document 73       Filed 02/25/08      Page 1 of 2
                                  ORDER OF THE COURT

       Pursuant to the above report, it is ordered that the defendant be discharged from
Supervised Release and that the proceedings in the case be terminated.



                                                Signed: February 23, 2008




        Case 1:99-cr-00112-LHT         Document 73       Filed 02/25/08      Page 2 of 2
